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     u.n. DK-J!:;CT COURT
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         ECEIVED-LAPAYSTTE"


                                  UNITED STATES DISTRICT COURT
         MAY 0 5 2020
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   TOtiYR.                        WESTERN DISTRICT OF LOUISIANA
   BY.
                      OLPUTY


                                       ALEXANDRIA DIVISION


         UNITED STATES OF AMERICA
                                                                   l;20-cr-00099-01
         VERSUS                                                    Judge Drell
                                                                  Magistrate Judge Perez-Montes
         ERIC DEWAYNE ADDISON


                                  MOTION TO SEAL INDICTMENT

                  NOW INTO COURT, comes the United States of America, by and through the

      United States Attorney and undersigned counsel, and respectfully represents as


      follows:

                                                   1.



                 On May 6, 2020, a five-count indictment was returned by the federal grand

      jury sitting in Lafayette, Louisiana.

                                                   2.



                 At the time of the presentment of the indictment to the Magistrate Judge, the

      United States requested that the indictment be placed under seal.

                                                   3.


                 Based on the court s policy, the United States hereby moves for an Order of

      this Honorable Court sealing the indictment in said matter.

                                                   4.



                 The United States also moves that all court personnel, including but not

      limited to: Clerk of Court, U.S. Probation, U.S. Marshal, be instructed not to reveal
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the existence of said indictment or the name of the defendants to anyone, specifically

including the news media and/or defense attorneys.


      Further, the United States respectfully requests that nothing in any sealing

Order issued by the Court be construed to restrict law enforcement agencies or


personnel from communicating information regarding this indictment to any party

for purposes related to the apprehension and arrest of the defendants named in this

indictment.


      WHEREFORE, the United States hereby moves for an Order of this Honorable

Court sealiner the above captioned indictment until the arrest of all the defendants in

the above captioned case.


                                        Respectfully submitted,

                                        DAVID C. JOSEPH
                                        United §^es Attorney



                                 By:
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